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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CHARLES GAGNON

Plaintiff,                                                 Case No. 1:15-cv-09526

v.                                                         Honorable Robert M. Dow, Jr.

JPMORGAN CHASE BANK, N.A.,
SETERUS, INC., PIERCE & ASSOCIATES,
P.C., EQUIFAX INFORMATION
SERVICES, LLC. and EXPERIAN
INFORMATION SOLUTIONS, INC.

Defendants.


        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
     COMPLAINT PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

        NOW COMES the Plaintiff, CHARLES GAGNON (“Plaintiff”), by and through his

attorneys, SULAIMAN LAW GROUP, LTD., and in response to Defendant SETERUS, INC.’s

(“Seterus” or “Defendant”) Motion to Dismiss Complaint Pursuant to Federal Rule of Civil

Procedure 12(b)(6), stating as follows:

                                          BACKGROUND

        Plaintiff filed a Chapter 13 bankruptcy petition in the United States Bankruptcy Court for

the Northern District of Illinois on July 31, 2013. (Am. Cmplt. ¶ 18.) Under his Chapter 13 Plan,

Plaintiff surrendered property securing a debt owed to JPMorgan Chase Bank, N.A. (“Chase”),

“in full satisfaction” of the debt. Id. at ¶ 22. Plaintiff’s Chapter 13 plan was confirmed on

October 11, 2013 Id. at ¶ 24. In addition to receiving all bankruptcy notices sent by the BNC by

virtue of being listed as a creditor, Chase actively participated in Plaintiff’s bankruptcy case. Id.

at ¶ 25. On July 16, 2014 Chase attempted to collect the subject debt from Plaintiff. (Id. ¶ 28.)


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Plaintiff obtained an Order of Discharge on August 4, 2014. Id. at ¶ 30. Among the debts

discharged was the debt owed to Chase. Id. Defendant Seterus, Inc. began servicing the Chase

mortgage on September 1, 2014, after Plaintiff’s bankruptcy. (Id. ¶ 34.) Plaintiff’s bankruptcy

case closed on September 17, 2014. Id. at ¶ 36. Plaintiff’s personal liability on the subject debt

was extinguished by his bankruptcy discharge, thus terminating the business relationship with

Chase and its successors in interest, including Seterus. (Id. ¶ 37.) Beginning in September 2014,

and continuing through January 2015, Seterus sent Plaintiff various demands for payment on the

subject debt. (Id. ¶¶ 39 - 41.)

        After his bankruptcy discharge, Plaintiff discovered the subject debt was reporting

inaccurately with the major credit reporting agencies. Plaintiff disputed the information by

written letters to the credit reporting agencies dated August 4, 2015. (Id. ¶¶ 46, 56.) Plaintiff

received Experian’s reinvestigation report, dated August 17, 2015, which continued to list the

inaccurate account history for the subject debt. (Id. ¶¶ 60 - 65.) Plaintiff received Equifax’s

reinvestigation report, dated August 23, 2015, which continued to list the inaccurate scheduled

payment for the subject debt. (Id. ¶¶ 50 - 55.) Based on the investigation responses, Plaintiff

discovered that Chase and Seterus had accessed Plaintiff’s consumer credit file after his

bankruptcy discharge and without any permissible purpose. (Id. ¶¶ 66 - 68.)

                                       STANDARD OF REVIEW

        To survive a motion to dismiss brought pursuant to Rule 12(b)(6), “a complaint must

contain sufficient factual material, accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). In general, when a plaintiff brings a claim in federal court, he need only

provide enough detail to give the defendant fair notice of what the claim is and the grounds upon



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which it rests, and through his allegations show that it is plausible, rather than merely

speculative, that he is entitled to relief. Lang v. TCF Nat’l Bank, 249 Fed. Appx. 464, 466 (7th

Cir. 2007). In ruling on a pending motion to dismiss, the court must construe the allegations in

the complaint in a light most favorable to the plaintiff, accept as true all well-pleaded factual

allegations set forth therein, and draw all reasonable inferences in favor of the non-moving party.

Fednav Int'l Ltd. v. Continental Ins. Co., 624 F.3d 834, 837 (7th Cir. 2010). In the event the

court finds that dismissal is warranted, the court should grant the plaintiff leave to amend unless

amendment would be futile. Ford v. Neese, 119 F.3d 560, 563 (7th Cir. 1997).

                                           ARGUMENT

I.      Plaintiff has Adequately Plead Violations of the FDCPA

        A.     Effect of Plaintiff’s Bankruptcy

        Seterus argues that Plaintiff’s surrender of the collateral does not satisfy his obligations

under the mortgage lien. Seterus misses the crux of Plaintiff’s allegations against it. Plaintiff

never alleges that any obligation to Seterus was extinguished upon his “surrender” of the

collateral. Instead, Plaintiff alleges that Seterus was precluded from attempting to collect the

subject debt from Plaintiff personally after the Bankruptcy Court granted him a discharge.

Pursuant to 11 U.S.C. §524, a discharge “operates as an injunction against the commencement or

continuation of any action, the employment of process, or an act, to collect, recover or offset any

such debt” that is discharged.

        Here, Plaintiff’s confirmed Chapter 13 Plan proposed to “surrender” the subject collateral

to Seterus’ predecessor in full satisfaction of its claims. (Am. Compl. ¶22.) Once Plaintiff’s

Chapter 13 Plan was confirmed by the Bankruptcy Court, the terms of the confirmed Plan bound

“the debtor and each creditor, whether or not the claim of such creditor is provided for by the



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plan, and whether or not such creditor has objected to, has accepted, or has rejected the plan.” 11

U.S.C. §1327. Here, the terms of Plaintiff’s Chapter 13 Plan bound Seterus to its express terms,

which surrendered the subject collateral to Seterus’ predecessor in full satisfaction of its claims.

Neither Seterus nor its predecessor objected to their treatment under Plaintiff’s confirmed

Chapter 13 Plan. Once the Plaintiff completed his payments pursuant to his confirmed Chapter

13 Plan, he was granted a “discharge of all debts provided for by the plan.” 11 U.S.C. §1328(a).

As such, Plaintiff’s personal liability on the subject debt was discharged, precluding any

collection activity from the Plaintiff personally.

       In this case, Plaintiff alleges that Seterus’ dunning letters were attempts to collect a

discharged debt from him personally, not as a in rem action against the underlying collateral. See

Johnson v. Home State Bank, 501 U.S. 78, 84 (1991) (holding that a bankruptcy discharge

extinguishes a debtor’s personal liability; leaving a secured creditor with an in rem remedy only);

see also In re Ryan, 100 B.R. 411, 415-16 (Bankr. N.D. Ill. 1989) (holding that the fact the

debtor retains title until the mortgagee forecloses does not expose the debtor to liability for the

mortgage payments; thus even if the mortgagee sat on its rights and did not foreclose on its lien,

it could not hold the debtor liable for post-petition mortgage payments).

       Seterus cites to In re Zair, 535 B.R. 15, 22 (Bankr. E.D. N.Y. 2015) to advance its

argument that Plaintiff’s obligations under the mortgage are not satisfied by “mere surrender of

the collateral property.” (Def. Mot. pg. 5). In Zair, the debtor proposed to surrender and vest title

to a property back to the mortgagee in full satisfaction of its secured claim. The mortgagee

objected to the treatment and argued that a debtor cannot surrender and vest property to it

without its consent. The Zair court held the debtor may indeed surrender and vest title to a

property in the mortgagee’s name and that the mortgagee may file a claim against the debtor for



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any deficiency arising from the difference between the value of the property and the mortgagee’s

claim. Id. at 25. Here, Seterus’ predecessor did not object to Plaintiff’s surrender of the subject

collateral in full satisfaction of its claim. More importantly, the Plaintiff here has already secured

a discharge, unlike the debtor in Zair. As such, Seterus’ reliance on Zair misses the mark by a

wide margin.

        Seterus argues that Plaintiff’s obligations under the mortgage lien continue

notwithstanding his discharge because he did not “complete” the surrender of the collateral.

Seterus does not cite to any authority to support its position that a debtor’s personal obligation on

a mortgage continues in the event that a surrender is not completed. In fact, Seterus’ position

flies in the face of the express language of §524 of the Bankruptcy Code which enjoins collection

of a debt after discharge from the debtor personally. See 11 U.S.C. §524(a). Moreover, the term

“surrender” in a bankruptcy context does not require physical delivery of the collateral if such

delivery is unfeasible. In re Ware, 533 B.R. 701, 712 (Bankr. N.D. Ill. 2015). Moreover, in In re

Metzler, 530 B.R. 894, 899 (Bank. M.D. Fla. 2015), the court held that a debtor need not deliver

the collateral when he elects to surrender the collateral, and that “surrender” merely requires that

a debtor to make the collateral available to the secured creditor. Id. The Metzler court further

noted that requiring a debtor to deliver property to the secured creditor could circumvent state

law by allowing the secured creditor to bypass the foreclosure requirement. Id.

        Here, Seterus seems to argue that Plaintiff’s surrender is ineffective because the Plaintiff

is still on title to the collateral. However, Plaintiff cannot forcefully or unilaterally transfer title

to the mortgagee without its consent. Moreover, “surrender” in the bankruptcy context does not

require actual delivery of the collateral as Seterus suggests. Lastly, Seterus’ argument that

Plaintiff’s surrender of the subject collateral was insufficient is nothing more than an



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impermissible attack on Plaintiff’s confirmed Chapter 13 Plan and thus must fail. Adair v.

Sherman, 230 F.3d 890, 894-895 (7th Cir. 2000) (the law is well settled that a confirmation order

is res judicata as to all issues decided or which could have been decided at the hearing on

confirmation). Had Seterus or its predecessor wanted to object to their treatment under the

Chapter 13 Plan, they could have done so. They did not. As a result, they are bound by the terms

of the Plan and the discharge order. Plaintiff complied with the terms of the Plan and received

his discharge. His personal liability on the underlying loan has been extinguished and thus all

collection efforts aimed at the Plaintiff must cease pursuant to 11 U.S.C. §524.

       As for Plaintiff’s 1692c claim, whether Seterus had knowledge of Plaintiff’s

representation by counsel turns to a factual argument that is inappropriate for a Rule 12(b)(6)

motion to dismiss. Plaintiff has pled Pierce knew, or should have known that he was represented

by counsel with regards to the subject debt (Am. Cmplt. ¶ 18.) and the court must construe the

allegation of damages in light most favorable to the Plaintiff, accept as true all well-pleaded

factual allegations set forth therein, and draw all reasonable inferences in favor of the Plaintiff.

See Fednav Int'l Ltd., 624 F.3d at 837 (7th Cir. 2010).

       B.      Seterus’ Attempts to Collect Discharged Debt

       Seterus argues that because some of its communications were “disclosures,” those

communications cannot possibly be an attempt to collect a debt. However, the cases upon which

it relies cut against its position. For example in Gburek v. Litton Loan Servicing, LP, 614 F.3d

380 (7th Cir. 2010), the court noted that the “nature of the parties’ relationship” is a relevant

factor in determining whether a communication is an attempt to collect a debt under the FDCPA.

Gburek, 614 F.3d at 385. Moreover, Gburek supports the position, noted above, that “whether a

communication was sent in connection with an attempt to collect a debt is a question of objective



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fact, to be proven like any other fact.” Id. at 386 (internal quotations and citations omitted). In

order to survive a Rule 12(b)(6) motion to dismiss, Plaintiff only needs to make allegations,

including the content of the letters attached to the complaint, that are sufficient to bring the claim

within the FDCPA’s scope. Id. In Gburek, the court found that a letter offered to discuss

foreclosure alternatives “qualifies as a communication in connection with an attempt to collect a

debt.” Id. Even a letter simply urging the plaintiff to contact the debt collector to discuss debt-

settlement options was deemed to be an attempt to collect a debt within the scope of the FDCPA.

Id.

         Seterus’ communications, which were made after Plaintiff’s personal liability on the

underlying debt was discharged also fall within this scope. The default notice attached to

Plaintiff’s Amended Complaint as Exhibit J “demands” a payment of $15,002.71 from Plaintiff

by October 2015. (Am. Compl. Exhibit J.) It also states, “the status of your loan may be reported

to credit reporting agencies.” Id. While none of the communications include a payment coupon,

the Gburek court found that “it was a mistake to dismiss the complaint on the sole ground that

none of these communications explicitly demanded payment from Gburek.” Id. at 386-87. Even

if, as Seterus claims, these communications were all intended to be informational, they must be

considered as a whole, not individual parts. Given that Plaintiff’s personal obligation on the

underlying loan had been discharged, any communications regarding payment were attempts to

collect a debt that misrepresented that debt’s status. Such allegations are sufficient to state a

claim under 15 U.S.C. §1692e(2).

         Seterus also argues that its letters were not attempts to collect a debt because of its

bankruptcy disclaimer appearing on bottom of the page. (Def. Mot. pg. 10). Seterus’ argument

must fall flat because the totality of circumstances demonstrate that the only purpose the



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statements served was to collect money from the Plaintiff, as evidenced by the demands for

payment and the inclusion of payment coupons on its letters. The statements are inherently

misleading as they attempt to collect a debt that is not legally owed. Courts across the country

have rejected the very same argument Seterus advances here to negate the conspicuous demands

for payment on a discharged debt by pointing to the boilerplate disclaimer on its letters.

Although clever, “FDCPA coverage is not defeated by clever arguments for technical loopholes

that seek to devour the protections Congress intended.” Donnelly-Tovar v. Selected Portfolio

Servicing, 945 F.Supp.2d 1037, 1047 (N.D. Neb. 2013). At the very least, dismissal is

inappropriate as there as an issue of material fact of whether the letters are misleading to an

unsophisticated consumer. See Barton v. Ocwen Loan Servicing, LLC, 2013 WL 5781324 (D.

Minn. 2013) (denying summary judgment in favor of Ocwen on the issue of whether a

bankruptcy disclaimer similar to the ones at bar exonerates Ocwen from FDCPA liability;

holding that a reasonable juror could find that the notices were an attempt to collect a discharged

debt through misleading statements or unfair practices).

       This Court has addressed Seterus’ bankruptcy disclaimer defense and equally rejected it.

In Tate v. Ocwen Loan Servicing, LLC, 14-cv-05528, (N.D. Ill. 2015), Judge Bucklo held:

         “that while the bankruptcy disclaimer uses straightforward language, I am not
         persuaded of its prominent placement, nor do I conclude, as a matter of law,
         that an unsophisticated consumer would understand it as negating the overall
         thrust of the account statement, which not only states elsewhere that is an
         attempt to collect a debt, but also contains the hallmarks of a demand for
         payment, right down to the payment instructions and a detachable payment.”
         Id. at *3. (emphasis in original). See attached Exhibit A is a true and correct
         copy of Judge Bucklo’s ruling.

Similarly here, the bankruptcy disclaimer language is hidden in small print and cannot

overshadow the “hallmarks” of a demand for payment. Each statement expressly demands

money from the Plaintiff and any disclaimer language cannot be found to overshadow the overall

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effect of the letters. Similarly, in Lara v. Specialized Loan Servicing, LLC, 2013 WL 4804387

(S.D. Fla. 2013), the Court held that a statement sent by the defendant “is objectively misleading

under the applicable standard that it misrepresents the legal status of Plaintiff’s debt by, inter

alia, stating the date on which the next payment is due, despite the debt having been discharged

in bankruptcy.” Id. at *1. The Lara Court further found that numerous correspondences sent by

defendant that included a bankruptcy disclaimer did not alter the letter’s overall misleading

effect. Id. The Lara Court specifically found that a correspondence including a mail-in payment

coupon with a payment amount and instructions relating to a discharged debt misrepresented the

legal status of the debt and was in violation of the FDCPA. Id. See also Zotow v. BAC Home

Loans Servicing, LP, 432 B.R. 252, 259 (9th Cir. BAP 2010) (holding that a mortgagee’s letters

were attempts to collect a debt notwithstanding bankruptcy disclaimer language).

        Seterus’ contention that the bankruptcy disclaimer negates its express demands for

payment on a discharged debt is disingenuous and has been rejected by numerous courts. The

totality of circumstances demonstrate that Seterus’ letters served one purpose; to collect a

discharged debt. The letters are misleading on their face as they can mislead the discharged

debtor into believing money is owed on a debt that no longer exists.

C.      Plaintiff has Adequately Plead Violations of the Bankruptcy Discharge Injunction

        Seterus next argues that Plaintiff’s discharge violation claim fails because it should be

brought in bankruptcy court. Seterus is mistaken. This Court has jurisdiction over Plaintiff’s

claims for violations of the Discharge Injunction pursuant to 28 U.S.C. §1334, which states in

pertinent part: “[t]he district courts shall have original and exclusive jurisdiction of all cases

under title 11.” 28 U.S.C. §1334. However, “each district court may provide any or all cases

under title 11 and any or all proceedings arising under title 11 or arising in or related to a case



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under title 11 shall be referred to the bankruptcy judges for the district. 28 U.S.C. 157(a).

(emphasis added).

       Plaintiff concedes that this district is one that refers bankruptcy matters to bankruptcy

judges for our district. See U.S. Dist. Ct., N.D. Ill. Gen. R. 2.33(A) (referring all cases under title

11 to the Bankruptcy Court for the Northern District of Illinois pursuant to 28 U.S.C. §157(a)).

However, that does not strip this Court of jurisdiction. In Martin-Trigona v. Champion Sav. &

Loan Assoc., 892 F.2d 575, 577 (7th Cir. 1989), the Court found that the district court has

jurisdiction to adjudicate a suit to enforce one’s rights under the Bankruptcy Code pursuant to 28

U.S.C. §157. Moreover, the “district court may withdraw, in whole or in part, any case or

proceeding referred under this section, on its own motion or on timely motion of any party, for

cause shown. The district court shall, on timely motion of a party, so withdraw a proceeding if

the court determines that the resolution of the proceeding requires consideration of both title 11

and other laws of the United States regulating organizations or activities affecting interstate

commerce. 28 U.S.C. §157(d).

       Here, Plaintiff’s claims under the FDCPA, FCRA and ICFA arise from conduct that

Plaintiff alleges also violates the Bankruptcy Discharge Injunction. Plaintiff could reopen his

bankruptcy case and bring a civil contempt motion against Seterus pursuant to 11 U.S.C. §§105

and 524. However, doing so will be inefficient as the civil contempt motion is directly related to

Seterus’ unlawful collection practices, which is largely governed by the FDCPA. Considering the

close nexus between the two claims, it would be inefficient to have the Bankruptcy Court hear

one matter (civil contempt) and this Court to address the FDCPA claims when this Court has

jurisdiction to adjudicate both claims pursuant to 28 U.S.C. §1334 and 28 U.S.C. §157(d). It is

also important to note that the Bankruptcy Court does not have jurisdiction to adjudicate



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Plaintiff’s FDCPA and ICFA claims as they are not “core matters” as defined by 28 U.S.C.

§157(b). Considering this Court has jurisdiction to adjudicate all the claims set forth by Plaintiff,

jurisdiction is proper. As such, Plaintiff urges this Court to retain jurisdiction on Plaintiff’s

discharge violation claim in the interests of judicial economy.

D.       Plaintiff has Adequately Plead Violations of the ICFA

         Lastly, Seterus argues that Plaintiff’s ICFA claim fails because (a) he does not allege any

actual damages, and (b) because he failed to plead that he was actually deceived by the letters.

Seterus’ arguments must fail because (a) Plaintiff does in fact plead damages, and (b) Plaintiff

does plead he was deceived by Seterus’ letters.

         Seterus’ argument that Plaintiff did not plead actual damages ignores the face of

Plaintiff’s complaint. Specifically, Plaintiff expressly alleges that he suffered emotional distress,

was harassed, expended time and incurred costs consulting with his attorneys as a result of

Seterus’ deceptive actions. (Am. Compl. ¶¶253-55.) Moreover, a plaintiff’s expenditure of time

and money incident to a debt collection effort suffice as damages under ICFA. Thompson v.

CACH, LLC, 2014 U.S. Dist. LEXIS 151255, at *23-24 (N.D. Ill. 2014). As a result, Seterus’

argument that Plaintiff fails to allege actual damages must fall flat.

         Seterus next argues that Plaintiff’s ICFA claim fails because he failed to plead that he

was deceived. Again, Seterus ignores the face of Plaintiff’s complaint. Plaintiff expressly alleges

that Seterus’ letters led him to believe that his bankruptcy had no legal effect. (Am. Compl.

¶255.) Moreover, Plaintiff’s complaint alleges that “Seterus intended that [he] rely on its unfair

acts” and that the demands “were systematically calculated to induce payment on a debt that is

no longer owed.” (Am. Compl. ¶ 249.) Even if Plaintiff failed to allege that he was deceived, he

need only plead that the defendant intended plaintiff to rely (intentionally or unintentionally) on



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the deceptive information. Chow v. Aegis Mortg. Corp., 286 F. Supp. 2d 956, 963 (N.D. Ill.

2003). Reasonable reliance is not an element of ICFA deception. Cozzi Iron & Metal, Inc. v. U.S.

Office Equip., Inc., 250 F.3d 570, 576 (7th Cir. 2001). As such, Plaintiff has sufficiently pled his

ICFA claim.

                                          CONCLUSION

       Seterus’ letters to Plaintiff were clear attempts to collect a debt that was discharged. As

such, the letters are false and misleading on their face as the debt was no longer owed pursuant to

Plaintiff’s bankruptcy discharge. At the very least, whether Seterus’ letters were attempts to

collect a debt, and thus false and deceptive are generally fact issues that cannot be decided at the

pleading stage. Walker v. National Recovery, Inc., 200 F.3d 500, 501 (7th Cir. 1999). Seterus’

Motion to Dismiss must fail as a matter of law.

       WHEREFORE, Plaintiff, Charles Gagnon, respectfully requests this Honorable Court

deny Seterus’ Motion to Dismiss in its entirety and for any other relief this Honorable Court

deems just and appropriate.



       Respectfully submitted,

                                                       /s/ Daniel J. McGarry
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                               CERTIFICATE OF SERVICE

       I, Daniel J. McGarry, an attorney, certify that on June 15, 2016, I caused the foregoing
PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS COMPLAINT
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) to be served upon
counsel of record through operation of the Court’s Case Management/Electronic Case File
(CM/ECF) system.



                                                   s/ Daniel J. McGarry
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